        Case 4:17-cv-05783-HSG Document 501 Filed 08/01/23 Page 1 of 7



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11                      IN THE UNITED STATES DISTRICT COURT
12                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
                                      OAKLAND DIVISION
14
     ______________________________________
15                                             )
     STATE OF CALIFORNIA, et al.,              ) Case No.: 4:17-cv-5783-HSG
16                                             )
                        Plaintiffs,            )
17                                             ) JOINT STATUS REPORT
                  v.                           )
18                                             )
     XAVIER BECERRA, Secretary of              )
19   Health and Human Services, et al.,        )
                                               )
20                      Defendants,            )
                                               )
21          and,                               )
                                               )
22   THE LITTLE SISTERS OF THE POOR,           )
     ST. MARY’S HOME, et al.,                  )
23                                             )
                         Defendant-Intervenors )
24                                             )

25          On August 17, 2021, the Court stayed this case and ordered the parties to file status

26   reports every three months. ECF No. 467. The parties report as follows:

27          1. This case concerns the validity of two rules which create a moral exemption, and

28             expand a religious exemption, to the rules establishing the contraceptive coverage
                                                  1
                                        JOINT STATUS REPORT
                                        Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 501 Filed 08/01/23 Page 2 of 7



 1
           requirement. See Religious Exemptions and Accommodations for Coverage of
 2
           Certain Preventive Services Under the ACA, 83 Fed. Reg. 57,536 (Nov. 15,
 3
           2018); Moral Exemptions and Accommodations for Coverage of Certain
 4
           Preventive Services Under the ACA, 83 Fed. Reg. 57,592 (Nov. 15, 2018).
 5
        2. The Court has before it fully briefed dispositive motions, see ECF Nos. 311, 366,
 6
           368, 370, as well as supplemental briefs addressing the Supreme Court’s decision
 7
           in Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct.
 8
           2367 (2020), see ECF Nos. 433, 435, 437, 438, 440.
 9
        3. On August 16, 2021, Federal Defendants announced that “[t]he Departments [of
10
           Health and Human Services, Treasury, and Labor] intend to initiate rulemaking
11
           within 6 months to amend the 2018 final regulations and obtaining public input
12
           will be included as part of the Departments’ rulemaking process.” CMS.Gov,
13
           Frequently Asked Questions, Affordable Care Act Implementation FAQs (Set 48)
14
           (Aug. 16, 2021) (available at https://perma.cc/2XH8-MDBX).
15
        4. The Federal Defendants published a notice of proposed rulemaking on February
16
           2, 2023, that would “amend regulations regarding coverage of certain preventive
17
           services under the Patient Protection and Affordable Care Act, which requires
18
           non-grandfathered group health plans and non-grandfathered group or individual
19
           health insurance coverage to cover certain contraceptive services without cost
20
           sharing.” U.S. Dep’t of Treasury, U.S. Dept’t of Labor, & U.S. Dep’t of Health
21
           & Human Servs., Coverage of Certain Preventive Services Under the Affordable
22
           Care Act (Feb. 2, 2023) (available at https://perma.cc/L58Q-VY4Q).            The
23
           comment period for the proposed rule closed on April 3, 2023. The Federal
24
           Defendants received over 44,000 comments to the proposed rule.
25
        5. The Court held its most recent status conference in this matter on February 7,
26
           2023. After the conference, the Court (1) ordered that the case should remain
27
           stayed and (2) directed the parties to attach to the next joint status report any
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                                    JOINT STATUS REPORT
                                    Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 501 Filed 08/01/23 Page 3 of 7



 1
           comments on the notice of proposed rulemaking submitted by Plaintiffs or
 2
           intervenors. ECF No. 489.
 3
        6. The parties filed a status report with the comments of the Plaintiffs and intervenors
 4
           on May 1, 2023. ECF No. 493.
 5
        7. The Federal Defendants can report that review and assessment of the comments
 6
           to the proposed rule, including comments from Plaintiffs and Intervenors, is
 7
           ongoing. Federal Defendants propose that the case remain stayed and that Federal
 8
           Defendants continue to file status reports every 90 days to apprise the Court of
 9
           the status of the rulemaking and their position on the need for a continued stay.
10
           The next status report will therefore be due on October 30, 2023.
11
        8. Plaintiff States do not oppose the case remaining in its current posture.
12
        9. Intervenor-Defendant March for Life concurs in the federal government’s
13
           proposal of a continued stay.
14
        10. Intervenor The Little Sisters maintain their position from prior filings that the stay
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           should be lifted and the motions for summary judgment decided.
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                                      JOINT STATUS REPORT
                                      Case No.: 4:17-cv-5783
        Case 4:17-cv-05783-HSG Document 501 Filed 08/01/23 Page 4 of 7



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                                 JOINT STATUS REPORT
                                 Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 501 Filed 08/01/23 Page 5 of 7



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                              JOINT STATUS REPORT
                              Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 501 Filed 08/01/23 Page 6 of 7



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                              JOINT STATUS REPORT
                              Case No.: 4:17-cv-5783
     Case 4:17-cv-05783-HSG Document 501 Filed 08/01/23 Page 7 of 7



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                              JOINT STATUS REPORT
                              Case No.: 4:17-cv-5783
